                                                 SO ORDERED.


                                                  Dated: February 27, 2023




                                                   ______________________________________
                                                   Madeleine C. Wanslee, Bankruptcy Judge




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                            Russell Brown
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